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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          No. 2:11-cr-00148-KJM
12                      Plaintiff,
13          v.
14   CUONG DI BUI, et al.,
15                      Defendants.
16   ___________________________________
17   UNITED STATES OF AMERICA,                          2:13-cr-00229-TLN
18                      Plaintiff,                      RELATED CASE ORDER
19          v.
20   DUONG AI NGO, et al.,
21                      Defendants.
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24                  Examination of the above-captioned actions reveals that they are related within the
25   meaning of Local Rule 123(a). Here, “both actions involve similar questions of fact and the same
26   question of law and their assignment to the same Judge . . . is likely to effect a substantial savings
27   of judicial effort.” Local Rule 123(a)(3). Accordingly, the assignment of these matters to the
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 1   same judge is likely to effect a substantial savings of judicial effort and is likely to be convenient
 2   for the parties.
 3                      The parties should be aware that relating cases under Rule 123 causes the actions
 4   to be assigned to the same judge—it does not consolidate the actions. Under Rule 123, related
 5   cases are generally assigned to the judge and magistrate judge to whom the first filed action was
 6   assigned.
 7                      As a result, it is hereby ORDERED that 2:13-cr-00229-TLN is reassigned from
 8   Judge Troy L. Nunley to the undersigned. Henceforth, the caption on documents filed in the
 9   reassigned case shall be shown as: 2:13-cr-00229-KJM.
10                      It is further ORDERED that the Clerk of the Court make appropriate adjustment in
11   the assignment of criminal cases to compensate for this reassignment.
12                      IT IS SO ORDERED.
13   DATED: January 30, 2014.
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16                                                  UNITED STATES DISTRICT JUDGE

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